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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA

_______________________________________________

ANDREA GROVE, individually and on behalf
of all others similarly situated,                   CA NO. 1:20-CV-00027-SMR-CFB

Plaintiff,

v.

BEER BARN CORPORATION, R & L B
CORPORATION d/b/a IOWA PLAYHOUSE,
RONALD BERGERON MICHAEL
BERGERON, AND LYNDA BERGERON,


Defendants.


     PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF
            COLLECTIVE ACTION MEMBERS’ CONTACT INFORMATON

        Defendants’ opposition to Plaintiff’s Motion to Compel demonstrates, at best,

carelessness, and, at worst, willful ignorance of the requirements of state and federal wage and

hour laws on the part of Defendants. Defendants admit that they had access to dancers’ contact

information, and indeed collected it when hiring dancers, but then, starting in August 2019,

began to destroy it. Defendants’ explanation for this destruction of documents? The dancers were

classified as independent contractors, and were not paid more than $600 by Playhouse. Neither

of these arguments excuses Defendants’ failure to keep documents.

        While Defendants claim that, until Plaintiff filed her lawsuit in August 2020, they had no

notice that Playhouse might be subject to a lawsuit, and thus had no obligation to preserve

records – including dancers’ contact information – this argument is hard to credit given the

dozens of exotic dancer cases around the country in which dancers were found to be employees,

as well as recent litigation in this Circuit. As Defendants note, a party has an obligation to

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preserve evidence “when the party has notice that the evidence is relevant to litigation or when

the party should have known that the evidence may be relevant to future litigation.” Dkt. 32 p. 4

(citing Fujitsu Ltd. V. FedEx Corp. 247 F.3d 423, 436 (2d Cir. 2001). Defendants in this case

should have known that they may be subject to a misclassification lawsuit. Another Iowa club,

Tuxedos, was sued for exotic dancer misclassification under the FLSA and Iowa law in

November 2018. Beard v. Tuxedos of Waterloo, Inc., No. 3:18-cv-00117 (S.D. Iowa). The 2018

decision in Mays v. Midnite Dreams in neighboring Nebraska found dancers to be employees

under Nebraska law despite the fact that the dancers signed a performance lease (much as

dancers did in this case). Mays v. Midnite Dreams, Inc., 915 N.W.2d 71 (Neb. 2018). A

misclassification lawsuit under state and federal law was filed in May 2020 against Club Omaha.

See Grove v. Meltech, Inc., No. 8:20-CV-193 (D. Neb.). These are just a few examples.

       Indeed, Defendants’ decision to literally burn identifying information for dancers starting in

2019 seems motivated not by a desire to protect the confidentiality of this information, but instead by

a desire to avoid liability for wage and hour violations. Defendants seem to suggest that they relied

on the advice of an accountant to determine whether they properly classified their dancers as

independent contractors, and whether they were required to maintain dancers’ data, and therefore

acted in good faith. However, in a wage and hour case, consulting with an accountant is not

enough to show “good faith” for purposes of the FLSA. See Copantitla v. Fiskardo Estiatorio,

Inc., 788 F. Supp. 2d 253, 316–17 (S.D.N.Y. 2011) (“defendants' evidence is insufficient for a

finding of good faith under the FLSA. Even though Ziotas's consultation with

an accountant constitutes an ‘active step,’ ‘its purpose was plainly not to ascertain the dictates of

the FLSA with respect to the issue at hand,’ namely the prerequisites for taking a ‘tip credit’




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under the FLSA and the calculation of overtime wages.”).1 Here, it appears that Defendants

simply asked their accountant what documentation they had to issue to dancers/keep for the

dancers, rather than whether the dancers were properly classified as independent contractors.

Although the Court need not resolve, at this early stage, the issue of whether Defendants acted in

good faith for purposes of the FLSA, Defendants have not provided any viable excuse for their

destruction of dancers’ information.

       Although Defendants claim any paper records have been destroyed, they do not mention

whether they have contact information (phone numbers, email addresses, even Facebook

contacts) for the dancers in electronic form. Indeed, it is hard to imagine that Defendants have no

way whatsoever of keeping in touch with the dancers who work at Playhouse. Plaintiff therefore

reiterates her request that Defendants be ordered to produce any such information in their

possession, so that notice can be properly effectuated.

       If Defendants have, in fact, burned all contact information for all dancers, and retain no

phone numbers or email addresses in their phones, Defendants should be entirely responsible for

the cost of notice by publication. See, e.g., Herbst v. Able, 49 F.R.D. 286, 287 (S.D.N.Y. 1970)

(“notice by publication combined with individual mail notices where possible, is ‘the best notice

practicable under the circumstances'”). Defendants took active, deliberate steps to get rid of

routinely collected contact information for Playhouse dancers – likely in response to mounting

litigation against adult nightclubs. None of the reasons Defendants give for this decision excuse

their conduct. Defendants are now in violation of the Court’s order requiring them to produce


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  In another case, where defendant argued that its accountant was to blame for any FLSA
violations, the court found that Defendant’s violations were willful. Perez v. El Tequila, LLC,
847 F.3d 1247, 1255 (10th Cir. 2017) (defendant “adjusted the payroll records and middle sheets
to reduce hours, misrepresented facts to the WHD investigator, and instructed other employees to
do the same.”).

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contact information for dancers, and they should be required to take the responsibility for

remedying the lack of this contact information by paying for notice by publication. Specifically,

Plaintiff requests that Defendants pay for the cost of running prominent online and print

advertisements for four consecutive weeks in the following publications: the Omaha World

Herald, KETV and The Daily Nonpareil. See In re Natl. Spa & Pool Inst., 257 B.R. 784, 791

(Bankr. E.D. Va. 2001) (“Notice by publication must be calculated to give notice” and should

contain sufficient information regarding the case and the participants’ rights); see also Dilonez v.

Fox Linen Serv. Inc., 35 F. Supp. 3d 247, 256 (E.D.N.Y. 2014) (“the Notice and Consent form

shall be circulated in both English and Spanish, the Notice shall be published in local Spanish

periodicals”).

                                          CONCLUSION


       For the reasons stated above, the Court should grant Plaintiff’s motion and order

Defendants to produce additional contact information, including last-known addresses, phone

numbers, and email addresses for collective action members within five days of its order.

Plaintiffs also request, in the event the Court orders Notice by publication, that Defendants be

required to bear all costs associated with this notice.




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DATED:         May 28, 2021                  Respectfully submitted,

                                             Andrea Grove, on behalf of herself
                                             and all others similarly situated,

                                             By her attorneys,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 28 day of May, 2021, a copy of the foregoing motion was
filed electronically through the Court’s CM/ECF system, which will send notice of this filing to
all counsel of record.

                                             /s/ Olena Savytska
                                             Olena Savytska, Esq.




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